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EXHIBIT “B”
Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 2 of 13

r Inmate Grievances

MOORE TROY
(last) (first)
Intake PID _853403 DOB 08/20/1972
Grievance Type Sub-Type Submitted Logged Fac. Status
\ 6132571 MEDICAL MEDICAL 10/31/2013 11/01/2013 PICC RESOLVED
G022150 MEDICAL MEDICAL 11/18/2002 11/19/2002 CFCF RESOLVED
Height 6'03 Hair BLACK Sex MALE
Weight 160 Eyes BROWN Race BLACK
Marks:
Languages:
ENGLISH
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MR Lock&Track © 2002-2004 LockWorks LLC
Philadelphia Police Photo-id Number

Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 3 of 13

[ Inmate Grievances

MOORE TROY
(last) (first)
Intake PID 853403 DOB 08/20/1972

[ Grievance Zoom

Grievance G022150 Type MEDICAL Status RESOLVED
SubType MEDICAL

Submitted 11/18/2002 00:00

Logged 11/19/2002 09:57

Facility CFCF

Location a-2 pod 3

Occurred 11/17/2002 00:00

Description *

Processed 11/19/2002 09:57 by COOPER_S

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+Category of grievance

ENGLISH

Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 4 of 13

r Memo: GRIEVANCESZ . DEF. INCIDENTS. COMPLAINT
INMATE CLAIMS THE OFFICER DENIED HIM MEDICAL ATTENTION,

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EXHIBIT “B”
Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 6 of 13

[ Inmate Grievances
MOORE TROY
(last) (first)
Intake PID _853403 DOB 08/20/1972
Grievance Type Sub-Type Submitted Logged Fac. Status
\ G132571 MEDICAL MEDICAL 10/31/2013 11/01/2013 PIcc RESOLVED
G022150 MEDICAL MEDICAL 11/18/2002 11/19/2002 CFCF RESOLVED
Height 6'03 Hair BLACK Sex MALE
Weight 160 Eyes BROWN Race BLACK
Marks;
Languages:
ENGLISH
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Philadelphia Police Photo-id Number

Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 7 of 13

[ Inmate Grievances

MOORE TROY
(last) (first)
Intake PID 98534093 DOB 08/20/1972

, Grievance Zoom

Grievance G022150 Type MEDICAL Status RESOLVED
SubType MEDICAL

Submitted 11/18/2002 00:00

Logged 11/19/2002 09:57

Facility CFCF

Location a-2 pod 3

Occurred 11/17/2002 00:00

Description *

Processed 11/19/2002 09:57 by COOPER_S

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Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 8 of 13

p Memo: GRIEVANGESZ.DEF . INCIDENTS .COMPLAINT
INMATE CLAIMS THE OFFICER DENIED HIM MEDICAL ATTENTION,

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Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 9 of 13

r Inmate Grievances

MOORE TROY
(last) (first)
Intake PID 853403 DOB 08/20/1972

Grievance Zoom

| Grievance Review Zoom

Review 1 Status RESOLVED-I
Type ACT-REC-1

Reviewer 134967 PEALE, GEORGE DEPWARDEN
Assigned 11/19/2002 10:06
Action Taken *
Completed 11/19/2002 10:12
Resolution Y

Processed 11/19/2002 10:12 by COOPER_S

pPgUp PgDn F9- F10 rFit F12——
Report
| GoBack | i

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+Status of review

Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 10 of 13

[ Memo: GREVIEWZ.GRIEVANCEREVIENS. REVIEW

BE ADVISED UNABLE TO ADDRESS YOUR GRIEVANCE PROPERLY, YOU MUST GIVE THE NAME

OF THE OFFICER YOU ARE GRIEVING. THEREFORE I WILL BE ABLE TO ADDRESS YOUR
COMPLAINT.

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|

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Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 11 of 13

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CFCF |.
Philadelphia Prison System DCT.

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OCT ¢ 9 2013

Inmate Grievance Form

Check box only if grievance is regarding Medical Services ["!

— . APG
Name [nowy bh: Moo ne Se. Housing, Unit GER,

A
Intake Number. BSA YOR Police Photo Number

Description of Grievance, Incident or Problem
(include date and time of incident)

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Action Requested by Inmate:

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Evie BY C oawssserotEe, Voure Grogan _
See: Continuation of Grievance - Page 2 Yes £1 No (]

Describe how and when you tried to resolve this Grievance informally,

Taiexpewy “Tas eyreasy OF BA-~jlo- 13

Date that you are depositing this Grievance ina grievance hoax:

°

~J— Sy — 10: 20-13

(Signature of Grievant) (Date)

Distribution: 1. Deputy Warden for Administration 2. Warden 3, Inmate’s Receipt of Filing
86-570
Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15

Page 12 of 13

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G 12957! See
Philadelphia Prison System Hoc i

Finding of the Inmate Grievance

ny 7 A
Grievant’s Name: \ AM A MN AOA Grievant's PDN b 9 HO 03 _
Grievant's Intake Numbel) [31577 | Grievant's Housing Unit: G- “Cats t+
Date of Grieved Incident: {0190 4) 2 Date of Inmate’s Depasit: Lala ify 3
Names of Witnesses: L
Date that Grievance was logged in by Deputy Warden: i\\ 5
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Recommended Action of the Perey, Warden

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rel WaZ RTARTA DT NOT, LY, COS

Signature: ‘1 Mast

Date: 1/24/13

Recommended Action:

Warden’s Review
Approved a Disapproved (]

Justification for Disapproval of Recommended Action
Lee adfer. Aare KE A

Signature of Warden:

LAF

Action Accepted by Inmate:

/ f
Date: Lf IL)

Yes bg Not

Signature of inmate f . KK PO
v ¢

Date: y \ »\ \s
i

Distribution: 1, W

arden 2. Inmate 3. Deputy Warden for Admin.
MOORE TROY
Intake 131577] PID 853403
DOB 08/20/1972

Case 2:14-cv-03873-GJP Document 37-3 Filed 07/14/15 Page 13 of 13

PROGRESS NOTES _.

Date/Time inmate’s Name: . D.O.B.: / /
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